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 2                            UNITED STATES DISTRICT COURT
 3
                                       DISTRICT OF NEVADA
 4

 5                                                  -oOo-
 6
      UNITED STATES OF AMERICA,                            )
 7                                                         )      2:11-CR-00048-JCM-CWH
           Plaintiff,                                      )
 8                                                         )
      v.                                                   )      ORDER FOR DISMISSAL
 9                                                         )
      CHRISTOPHER FRAIJO,                                  )
10                                                         )
         Defendant.                                        )
11    ________________________________                     )

12                      Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and upon

13    leave of Court, the United States Attorney for the District of Nevada hereby dismisses

14    without prejudice the charges brought against defendant CHRISTOPHER FRAIJO that are

15    contained the above-captioned Indictment.

16

17                                                  Respectfully submitted,

18                                                  DANIEL G. BOGDEN
                                                    United States Attorney
19
                                                    /s/ Kimberly M. Frayn
20                                                  KIMBERLY M. FRAYN
                                                    Assistant United States Attorney
21

22                      Leave of Court is granted for the filing of the foregoing dismissal.

23    IT IS FURTHER ORDERED the warrant for CHRISTOPHER FRAIJO’s arrest is quashed.

24                                 5th
                        DATED this _______ day of December, 2012

25

26                                                  __________________________________
                                                    UNITED STATES DISTRICT JUDGE

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